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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  EDWIN H. STIER, ESQ, AS WIND
  DOWN TRUSTEE FOR MLS
  BERKOWITZ INVESTMENTS, LLC,
                                                   Case No. 3:24-cv-04647-RK-RLS

          Plaintiff,


  V.




  DIEGO POSSEBON, et at

         Defendants.



   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE AS TO CERTAIN
                      IDENTIFIED DEFENDANTS

        Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(i), Plaintiff Edwin H. Stier, Esq.,

 as Wind Down Trustee for MLS Berkowitz Investments, LLC, hereby gives notice that his claims


 in the above-captioned action against the following defendants are voluntarily dismissed, without


 prejudice:

        • 1st Sports Corp.


        • Air Plus Power Corporation


        a Anhui Shengjiuding Auto Parts. Co.


        • Arts Gestora e Administradora


        • Ayalla Miguel De Carvalho

        • Banco Bradesco S.A.


        • Banco BTG Factual S .A.


        • Banco Master S.A.


        • Banco Rendimento S.A.
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             Banco Safra S.A.


             BR Multiservicos Ltda.


             Chan Shun Ming

             Chang Yuk King

             Changzhou Nantai Gas Spring Co. Ltd.


             Chi Long Electronic Co. Ltd.


             China Base Ningbo Foreign Trade

             Clovis S. Amorim


             Denver SpA


             Eagle Man Comercio de Artigos de Vestuario Ltda.


             Elegant Silver Jewellery


             Elite Electric Appliance Manufacture


             Elvis Henrique F. Silva

             Foshan Besthouse Ceramics Co. Ltd.


             Foshan Winchain Import and Export


             Foshan Winner Furniture Co. Ltd.


             Gabriel Maria D. Centeno


             Haining Mingshuai Technology

             Hebei Jiuye Cookware Co., Ltd.


             Hefei Dayu Fitness


             Hengshui Guangxing Screens Co. Ltd.


             INTCO

             Itau Unibanco S.A.
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       • Jacqueline Ferreira Siqueira


       • Jiaxing Epont Import & Export Co. Ltd.


       • Jinan Jinbao


       • K 13 Sistem Danismanlik Ltd.


       • Kilomax International Limited


       • Linglong Tyre Co. Ltd.


       • Lord Krishna Overseas


       • Michael Panzeri


       • Moment Kiwyqa Erp Kuyumculuk Dis.


       • Nice Match International Co. Ltd.


       • Ningbo Dingjia Auto Parts

       • Ningbo Free Trade Zone Youngcom Int.


       • Ningbo General Union Co. Ltd.


       • Ningbo Jin Mao Import and Export Co.


       • Ningbo Jumson International Trade


       ® Ningbo Towpin Co. Ltd.


       • P&P Silver Factory


       • Playfun Games Co. Ltd.


       • Qingdao Qixiang International


       • Qingdao Shining Road Tyre Co. Ltd.


       • Rainbow Silver Co. Ltd.


       • Rltek Corporation


       • Shanghai Nar Industrial Co. Ltd.
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             Shaoxing Keqiao

             Shasnxi Dursafety Materials Co. Ltd.


             SPK International Inlimited

             Taizhou Kele Hse Industry Co. Ltd.


             Tianjin Cutprint CNC Technology

             Treviso Corretora de Cambio S.A.


             Unvir Co. Limited


             Web7 Digital

             Wenling Jiafeng Machinery Co. Ltd.


             Wenzhou Fato Mechanical Electrical


             Wenzhouzhonglong Trading Co. Ltd.


             Whesley Souza Sena


             Xiamen Careful Imp. and Exp. Co. Ltd.


             Xiamen Hongjing Industry & Trade

             Xiamen Sunroy Import and Export


             Yiwu Acorn Import and Export Co. Ltd.


             Yiwu Lotus Imp. and Exp. Co. Limited


             Yiwu Najia Import and Export Co. Ltd.


             Yiwu Paradise Imp. and Exp. Co. Limited


             Yiwu Primula Import and Export Co. Ltd.


             Yiwu Sheng Commodity Purchase


             Yiwu Sun Flower Imp. and Exp. Co.


             Yiwu Sunting International Trade Co. Ltd.
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               Yiwu Xiawei Import and Export Co. Ltd.


               Yiwu Zongheng Import and Export Co.


               Yuyao Forever Star Sprayer


               Zhangzhou Dongrong Motor Technology


               Zhejiang Liya Vehicle Co. Ltd.

               Zhejiang Zhongyu Industry

               Zhuji Weiwei Import & Export Co. Ltd.


               Zhuzhou OBT Carbide Tools Co. Ltd.




                                                         Respectfully submitted,


                                                          CALCAGNI & KANEFSKY, LLP


                                                  By: /s/ Erie T. Kanefskv
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                                                         eric@ck-litigation.com


                                                         Attorneys for Plaintiff




  Dated: March 10, 2025

                                                            SO ORDERE


                                                           Robert Kirsd^U.S.DJ.
                                                           Date: ^
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and correct copy of the foregoing Notice of Dismissal


 to be served upon all counsel of record via the Court's CM/ECF electronic filing system.



                                                     /s/ PhiliuJ. Morrow
                                                     Philip J. Morrow



 Dated: March 10, 2025
